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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
MINUTES OF PROCEEDINGS

TRENTON January 29, 2024

OFFICE DATE OF PROCEEDINGS
JUDGE: RUKHSANAH L. SINGH

DIGITALLY RECORDED

TITLE OF CASE: MD-16-2738 (MAS) (RLS)

IN RE: JOHNSON & JOHNSON TALCUM POWDER
PRODUCTS MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION

APPEARANCES:

Michelle Parfitt, Esq., P, Leigh O'Dell, Esq., Richard Golomb, Esq., Christopher Tisi, Esq.,
Daniel Lapinski, Esq., Larry Berman, Esq., Chris Placitella, Esq., Justin Placitella, Esq., Patrick
Lyons, Esq., & James Green, Esq., for plaintiffs

Susan Sharko, Esq., Allison Brown, Esq., Sean Garrett, Esq., & Andrew White, Esq., for
defendants

NATURE OF PROCEEDING:

Hearing on motion Docket Entry No. 28798 by Defendant to strike Plaintiffs' improper
supplemental reports,

Ordered motion Docket Entry No. 28798 decision reserved.

Order to be entered.

Hearing regarding discovery disputes set forth in Docket Entry No. 28915.
Decision read into the record,
Order to be entered,

TIME COMMENCED: 10:00 a.m. s/ Mark Morelli
TIME ADJOURNED: = 11:55 a.m. Deputy Clerk
TOTAL TIME: 1 Hour & 55 Minutes

